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NEWMAN DECLARATION:
     EXHIBIT A
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   MEDICARE ENROLLMENT APPLICATION

                   INSTITUTIONAL PROVIDERS




                              CMS-855A

SEE PAGE 1 TO DETERMINE IF YOU ARE COMPLETING THE CORRECT APPLICATION
SEE PAGE 3 FOR INFORMATION ON WHERE TO MAIL THIS APPLICATION.
SEE PAGE 52 TO FIND A LIST OF THE SUPPORTING DOCUMENTATION THAT MUST BE
SUBMITTED WITH THIS APPLICATION.
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                                                                                                Form Approved OMB
DEPARTMENT OF HEALTH AND HUMAN SERVICES                                                              No. 0938-0685
CENTERS FOR MEDICARE & MEDICAID SERVICES                                                              Expires: 08/19

                             WHO SHOULD COMPLETE THIS APPLICATION
Institutional providers can apply for enrollment in the Medicare program or make a change in their
enrollment information using either:
• The Internet-based Provider Enrollment, Chain and Ownership System (PECOS), or
• The paper enrollment application process (e.g., CMS 855A).
For additional information regarding the Medicare enrollment process, including Internet-based PECOS,
go to www.cms.gov/MedicareProviderSupEnroll.
Institutional providers who are enrolled in the Medicare program, but have not submitted the CMS 855A
since 2003, are required to submit a Medicare enrollment application (i.e., Internet-based PECOS or the
CMS 855A) as an initial application when reporting a change for the first time.
The following health care organizations must complete this application to initiate the enrollment process:
• Community Mental Health Center                       • Hospital
• Comprehensive Outpatient Rehabilitation Facility • Indian Health Services Facility
• Critical Access Hospital                             • Organ Procurement Organization
• End-Stage Renal Disease Facility                     • Outpatient Physical Therapy/Occupational
• Federally Qualified Health Center                       Therapy /Speech Pathology Services
• Histocompatibility Laboratory                        • Religious Non-Medical Health Care Institution
• Home Health Agency                                   • Rural Health Clinic
• Hospice                                              • Skilled Nursing Facility
If your provider type is not listed above, contact your designated fee-for-service contractor before you
submit this application.
Complete this application if you are a health care organization and you:
• Plan to bill Medicare for Part A medical services, or
• Would like to report a change to your existing Part A enrollment data. A change must be reported
  within 90 days of the effective date of the change; per 42 C.F.R. 424.516(e), changes of ownership or
  control must be reported within 30 days of the effective date of the change.

                                           BILLING NUMBER INFORMATION
The National Provider Identifier (NPI) is the standard unique health identifier for health care providers
and is assigned by the National Plan and Provider Enumeration System (NPPES). Medicare healthcare
providers, except organ procurement organizations, must obtain an NPI prior to enrolling in
Medicare or before submitting a change to your existing Medicare enrollment information. Applying
for an NPI is a process separate from Medicare enrollment. To obtain an NPI, you may apply online at
https://NPPES.cms.hhs.gov. As an organizational health care provider, it is your responsibility to determine
if you have “subparts.” A subpart is a component of an organization that furnishes healthcare and is not
itself a legal entity. If you do have subparts, you must determine if they should obtain their own unique
NPIs. Before you complete this enrollment application, you need to make those determinations and obtain
NPI(s) accordingly.
IMPORTANT: For NPI purposes, sole proprietors and sole proprietorships are considered to be
“Type 1” providers. Organizations (e.g., corporations, partnerships) are treated as “Type 2” entities.
When reporting the NPI of a sole proprietor on this application, therefore, the individual’s Type 1
NPI should be reported; for organizations, the Type 2 NPI should be furnished.
For more information about subparts, visit www.cms.gov/NationalProvIdentStand to view the “Medicare
Expectations Subparts Paper.”
The Medicare Identification Number, often referred to as the CMS Certification Number (CCN) or
Medicare “legacy” number, is a generic term for any number other than the NPI that is used to identify a
Medicare provider.
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                   INSTRUCTIONS FOR COMPLETING AND SUBMITTING THIS APPLICATION
• Type or print all information so that it is legible. Do not use pencil.
• Report additional information within a section by copying and completing that section for each
  additional entry.
• Attach all required supporting documentation.
• Keep a copy of your completed Medicare enrollment package for your records.
• Send the completed application with original signatures and all required documentation to your
  designated Medicare fee-for-service contractor.


                                 AVOID DELAYS IN YOUR ENROLLMENT
To avoid delays in the enrollment process, you should:
• Complete all required sections.
• Ensure that the legal business name shown in Section 2 matches the name on the tax documents.
• Ensure that the correspondence address shown in Section 2 is the provider’s address.
• Enter your NPI in the applicable sections.
• Enter all applicable dates.
• Ensure that the correct person signs the application.
• Send your application and all supporting documentation to the designated fee-for-service contractor.

                                   OBTAINING MEDICARE APPROVAL
The usual process for becoming a certified Medicare provider is as follows:
1. The applicant completes and submits a CMS-855A enrollment application and all supporting
   documentation to its fee-for-service contractor.
2. The fee-for-service contractor reviews the application and makes a recommendation for approval or
   denial to the State survey agency, with a copy to the CMS Regional Office.
3. The State agency or approved accreditation organization conducts a survey. Based on the survey results,
   the State agency makes a recommendation for approval or denial (a certification of compliance or
   noncompliance) to the CMS Regional Office. Certain provider types may elect voluntary accreditation
   by a CMS-recognized accrediting organization in lieu of a State survey.
4. A CMS contractor conducts a second contractor review, as needed, to verify that a provider continues
   to meet the enrollment requirements prior to granting Medicare billing privileges.
5. The CMS Regional Office makes the final decision regarding program eligibility. The CMS Regional
   Office also works with the Office of Civil Rights to obtain necessary Civil Rights clearances. If
   approved, the provider must typically sign a provider agreement.




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                                      ADDITIONAL INFORMATION
For additional information regarding the Medicare enrollment process, visit www.cms.gov/
MedicareProviderSupEnroll.
The fee-for-service contractor may request, at any time during the enrollment process, documentation
to support or validate information reported on the application. You are responsible for providing this
documentation in a timely manner.
The information you provide on this application will not be shared. It is protected under 5 U.S.C. Section
552(b)(4) and/or (b)(6), respectively. For more information, see the last page of this application for the
Privacy Act Statement.


                                       MAIL YOUR APPLICATION
The Medicare fee-for-service contractor (also referred to as a fiscal intermediary or a Medicare
administrative contractor) that services your State is responsible for processing your enrollment
application. To locate the mailing address for your fee-for-service contractor, go to www.cms.gov/
MedicareProviderSupEnroll.




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SECTION 1: BASIC INFORMATION


                                           NEW ENROLLEES
If you are:
• Enrolling with a particular fee-for-service contractor for the first time.
• Undergoing a change of ownership where the new owner will not be accepting assignment of the
   Medicare assets and liabilities of the seller/former owner.


                                   ENROLLED MEDICARE PROVIDERS
The following actions apply to Medicare providers already enrolled in the program:
Reactivation
To reactivate your Medicare billing privileges, submit this enrollment application. In addition, you
must be able to submit a valid claim and meet all current requirements for your provider type before
reactivation can occur.
Voluntary Termination
A provider should voluntarily terminate its Medicare enrollment when:
• It will no longer be rendering services to Medicare patients,
• It is planning to cease (or has ceased) operations,
• There has been an acquisition/merger and the new owner will not be using the identification number of
  the entity it has acquired,
• There has been a consolidation and the identification numbers of the consolidating providers will no
  longer be used, or
• There has been a change of ownership and the new owner will not be accepting assignment of the
  Medicare assets and liabilities of the seller/former owner, meaning that the number of the seller/former
  owner will no longer be used.
NOTE: A voluntary identification number termination cannot be used to circumvent any corrective action
plan or any pending/ongoing investigation, nor can it be used to avoid a period of reasonable assurance,
where a provider must operate for a certain period without recurrence of the deficiencies that were the
basis for the termination. The provider will not be reinstated until the completion of the reasonable
assurance period.
Change of Ownership (CHOW)
A CHOW typically occurs when a Medicare provider has been purchased (or leased) by another
organization. The CHOW results in the transfer of the old owner’s Medicare Identification Number and
provider agreement (including any outstanding Medicare debt of the old owner) to the new owner. The
regulatory citation for CHOWs can be found at 42 C.F.R. 489.18. If the purchaser (or lessee) elects not
to accept a transfer of the provider agreement, then the old agreement should be terminated and the
purchaser or lessee is considered a new applicant.




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SECTION 1: BASIC INFORMATION (Continued)
Acquisition/Merger
An acquisition/merger occurs when a currently enrolled Medicare provider is purchasing or has been
purchased by another enrolled provider. Only the purchaser’s Medicare Identification Number and tax
identification number remain.
Acquisitions/mergers are different from CHOWs. In the case of an acquisition/merger, the seller/former
owner’s Medicare Identification Number dissolves. In a CHOW, the seller/former owner’s provider
number typically remains intact and is transferred to the new owner.

Consolidation
A consolidation occurs when two or more enrolled Medicare providers consolidate to form a new
business entity.
Consolidations are different from acquisitions/mergers. In an acquisition/merger, two entities combine but
the Medicare Identification Number and tax identification number (TIN) of the purchasing entity remain
intact. In a consolidation, the TINs and Medicare Identification Numbers of the consolidating entities
dissolve and a new TIN and Medicare Identification Number are assigned to the new, consolidated entity.
      Because of the various situations in which a CHOW, acquisition/merger, or consolidation can
      occur, it is recommended that the provider contact its fee-for-service contractor or its CMS
      Regional Office if it is unsure as to whether such a transaction has occurred. The provider
      should also review the applicable federal regulation at 42 C.F.R. 489.18 for additional guidance.

Change of Information
A change of information should be submitted if you are changing, adding, or deleting information under
your current tax identification number. Changes in your existing enrollment data must be reported to the
Medicare fee-for-service contractor in accordance with 42 C.F.R. 424.516(e).
  NOTE: Ownership changes that do not qualify as CHOWs, acquisitions/mergers, or consolidations
  should be reported here. The most common example involves stock transfers. For instance, assume that
  a business entity’s stock is owned by A, B, and C. A sells his stock to D. While this is an ownership
  change, it is generally not a formal CHOW under 42 C.F.R. 489.18. Thus, the ownership change from A
  to D should be reported as a change of information, not a CHOW. If you have any questions on whether
  an ownership change should be reported as a CHOW or a change of information, contact your fee-for-
  service contractor or CMS Regional Office.
If you are already enrolled in Medicare and are not receiving Medicare payments via EFT, any change to
your enrollment information will require you to submit a CMS-588 application. All future payments will
then be made via EFT.

Revalidation
CMS may require you to submit or update your enrollment information. The fee-for-service contractor will
notify you when it is time for you to revalidate your enrollment information. Do not submit a revalidation
application until you have been contacted by the fee-for-service contractor.




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SECTION 1: BASIC INFORMATION (Continued)
A. Check one box and complete the required sections

       REASON FOR APPLICATION             BILLING NUMBER INFORMATION                     REQUIRED SECTIONS
    You are a new enrollee in             Enter your Medicare Identification Complete all applicable
    Medicare                              Number (if issued) and the NPI you sections except 2F, 2G,
                                          would like to link to this number in and 2H
                                          Section 4.

    You are enrolling with another fee- Enter your Medicare Identification Complete all applicable
    for-service contractor’s jurisdiction Number (if issued) and the NPI you sections except 2F, 2G,
    You are reactivating your             would like to link to this number in and 2H
    Medicare enrollment                   Section 4.

    You are voluntarily terminating       Effective Date of Termination:              Complete sections:
    your Medicare enrollment                                                          1, 2B1, 13, and either 15
                                          Medicare Identification Number(s) to
                                                                                      or 16
                                          Terminate (if issued):



                                          National Provider Identifier (if issued):



    There has been a Change of            Tax Identification Number:                  Seller/Former Owner: 1A,
    Ownership (CHOW) of the                                                           2F, 13, and either 15 or 16
    Medicare-enrolled provider                                                        Buyer/New Owner:
 You are the:                                                                         Complete all sections
   Seller/Former Owner                                                                except 2G and 2H
   Buyer/New Owner

    Your organization has taken part in   Medicare Identification Number of the       Seller/Former Owner: 1A,
    an Acquisition or Merger                                                          2G, 13, and either 15 or 16
                                          Seller/Former Owner (if issued):

 You are the:                                                                         Buyer/New Owner:
   Seller/Former Owner                    NPI:                                        1A, 2G, 4, 13, and either 15
   Buyer/New Owner                                                                    (if you are the authorized
                                          Tax Identification Number:
                                                                                      official) or 16 (if you are the
                                                                                      delegated official), and 6 for
                                                                                      the signer if that authorized
                                                                                      or delegated official has not
                                                                                      been established for this
                                                                                      provider.




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SECTION 1: BASIC INFORMATION (Continued)
A. Check one box and complete the required sections
    Your organization has               Medicare Identification Number of the   Former Organizations:
    Consolidated with another                                                   1A, 2H, 13, and either 15
                                        Seller/Former Owner (if issued):

    organization                                                                or 16
 You are the:                           NPI:                                    New Organization:
   Former organization                                                          Complete all sections
   New organization                     Tax Identification Number:
                                                                                except 2F and 2G



    You are changing your Medicare      Medicare Identification Number          Go to Section 1B
                                        (if issued):
    information

                                        NPI:



    You are revalidating your           Enter your Medicare Identification Complete all applicable
    Medicare enrollment                 Number (if issued) and the NPI you sections except 2F, 2G,
                                        would like to link to this number in and 2H
                                        Section 4.




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SECTION 1: BASIC INFORMATION (Continued)
B. Check all that apply and complete the required sections:
                                                                REQUIRED SECTIONS
     Identifying Information               1, 2 (complete only those sections that are changing), 3, 13,
                                           and either 15 (if you are the authorized official) or 16 (if you
                                           are the delegated official), and Section 6 for the signer if that
                                           authorized or delegated official has not been established for
                                           this provider.
     Adverse Legal Actions/Convictions     1, 2B1, 3, 13, and either 15 (if you are the authorized
                                           official) or 16 (if you are the delegated official), and Section
                                           6 for the signer if that authorized or delegated official has not
                                           been established for this provider.
     Practice Location Information,        1, 2B1, 3, 4 (complete only those sections that are
     Payment Address & Medical Record      changing), 13, and either 15 (if you are the authorized
     Storage Information                   official) or 16 (if you are the delegated official), and Section
                                           6 for the signer if that authorized or delegated official has
                                           not been established for this provider.

     Ownership Interest and/or Managing    1, 2B1, 3, 5, 13, and either 15 (if you are the authorized
     Control Information (Organizations)   official) or 16 (if you are the delegated official), and Section
                                           6 for the signer if that authorized or delegated official has not
                                           been established for this provider.

     Ownership Interest and/or Managing    1, 2B1, 3, 6, 13, and either 15 (if you are the authorized
     Control Information (Individuals)     official) or 16 (if you are the delegated official), and Section
                                           6 for the signer if that authorized or delegated official has not
                                           been established for this provider.
     Chain Home Office Information         1, 2B1, 3, 7, 13, and either 15 (if you are the authorized
                                           official) or 16 (if you are the delegated official), and Section
                                           6 for the signer if that authorized or delegated official has not
                                           been established for this provider.
     Billing Agency Information            1, 2B1, 3, 8 (complete only those sections that are
                                           changing), 13, and either 15 (if you are the authorized
                                           official) or 16 (if you are the delegated official), and Section
                                           6 for the signer if that authorized or delegated official has not
                                           been established for this provider.

     Special Requirements for Home         1, 2B1, 3, 12, 13, and either 15 (if you are the authorized
     Health Agencies                       official) or 16 (if you are the delegated official), and
                                           Section 6 for the signer if that authorized or delegated
                                           official has not been established for this provider.

     Authorized Official(s)                1, 2B1, 3, 6, 13, and 15.

     Delegated Official(s) (Optional)      1, 2B1, 3, 6, 13, 15, and 16.



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SECTION 2: IDENTIFYING INFORMATION


                                            NEW ENROLLEES
Submit separate CMS-855A enrollment applications if the types of providers for which this
application is being submitted are separately recognized provider types with different rules regarding
Medicare participation. For example, if a provider functions as both a hospital and an end-stage renal
disease (ESRD) facility, the provider must complete two separate enrollment applications (CMS-855A)—
one for the hospital and one for the ESRD facility. If a hospital performs multiple types of services, only
one enrollment application (CMS-855A) is required.
For example, a hospital that has a swing-bed unit need only submit one enrollment application
(CMS– 855A). This is because the provider is operating as a single provider type—a hospital—that
happens to have a distinct part furnishing different/additional services.


                                   SPECIAL ENROLLMENT NOTES
• If you are adding a psychiatric or rehabilitation unit to a hospital, check the appropriate subcategory
  under the “Hospital” heading. (A separate enrollment for the psychiatric/rehabilitation unit is not
  required). The unit should be listed as a practice location in Section 4.
• If you are adding a home health agency (HHA) branch, list it as a practice location in Section 4. A
  separate enrollment application is not necessary.
• If you are changing hospital types (e.g., general hospital to a psychiatric hospital), indicate this in
  Section 2. A new/separate enrollment is not necessary.
• If you are adding an HHA sub-unit (as opposed to a branch), this requires an initial enrollment
  application for the sub-unit.
• If the hospital will focus on certain specialized services, the applicant should analyze whether the
  facility will be a general hospital or will fall under the category of a specialty hospital. A specialty
  hospital is defined as a facility that is primarily engaged in cardiac, orthopedic, or surgical care. Based
  upon Diagnosis Related Group/Major Diagnosis Category (DRG/MDC) and type (medical/surgical), the
  applicant should project all inpatient discharges expected in the first year of the hospital’s operation.
  Those applicants that project that 45% or more of the hospital’s inpatient cases will fall in either cardiac
  (MDC-5), orthopedic (MDC-8), or surgical care should check the Hospital—Specialty Hospital block in
  Section 2A2.
• Physician-owned hospital means any participating hospital (as defined in 42 CFR § 489.24) in which
  a physician, or an immediate family member of a physician has an ownership or investment interest in
  the hospital. The ownership or investment interest may be through equity, debt, or other means, and
  includes an interest in an entity that holds an ownership or investment interest in the hospital. This
  definition does not include a hospital with physician ownership or investment interests that satisfy the
  requirements at 42 CFR § 411.356(a) or (b).




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SECTION 2: IDENTIFYING INFORMATION (Continued)
A. Type of Provider
The provider must meet all Federal and State requirements for the type of provider checked. Check
only one provider type. If the provider functions as two or more provider types, a separate enrollment
application (CMS-855A) must be submitted for each type.
1. Type of Provider (other than Hospitals— See 2A2). Check only one:
   Community Mental Health Center
   Comprehensive Outpatient Rehabilitation Facility
   Critical Access Hospital
   End-Stage Renal Disease Facility
   Federally Qualified Health Center
   Histocompatibility Laboratory
   Home Health Agency
   Home Health Agency (Sub-unit)
   Hospice
   Indian Health Services Facility
   Organ Procurement Organization
   Outpatient Physical Therapy/Occupational Therapy/ Speech Pathology Services
   Religious Non-Medical Health Care Institution
   Rural Health Clinic
   Skilled Nursing Facility
   Other (Specify):_______________________
2. If this provider is a hospital, check all applicable subgroups and units listed below
and complete Section 2A3.
   Hospital—General
   Hospital—Acute Care
   Hospital—Children’s (excluded from PPS)
   Hospital—Long-Term (excluded from PPS)
   Hospital—Psychiatric (excluded from PPS)
   Hospital—Rehabilitation (excluded from PPS)
   Hospital—Short-Term (General and Specialty)
   Hospital—Swing-Bed approved
   Hospital—Psychiatric Unit
   Hospital—Rehabilitation Unit
   Hospital—Specialty Hospital (cardiac, orthopedic, or surgical)
   Other (Specify):_________________________
3. If hospital was checked in Section 2A1 or 2A2, does this hospital have a compliance plan that
states that the hospital checks all managing employees against the exclusion/debarment lists of
both the HHS Office of the Inspector General (OIG) and the General Services Administration (GSA)?
   YES         NO
4. Is the provider a physician-owned hospital (as defined in the Special Enrollment Notes on
page 9)?
   YES         NO
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SECTION 2: IDENTIFYING INFORMATION (Continued)
B. Identification Information

1. BUSINESS INFORMATION
Legal Business Name (not the “Doing Business As” name) as reported to the Internal Revenue Service



Identify the type of organizational structure of this provider/supplier (Check one)
   Corporation              Limited Liability Company             Partnership
   Sole Proprietor          Other (Specify): ________________________________
Tax Identification Number



Incorporation Date (mm/dd/yyyy) (if applicable)                        State Where Incorporated (if applicable)



Other Name



Type of Other Name
   Former Legal Business Name          Doing Business As Name           Other (Specify): _______________________________

Identify how your business is registered with the IRS. (NOTE: If your business is a Federal and/or State
government provider or supplier indicate “Non-Profit” below):
   Proprietary       Non-Profit

NOTE: If a checkbox indicating Proprietaryship or non-profit status is not completed, the provider/
supplier will be defaulted to “Proprietary.”
What is the supplier’s year end cost report date? (mm/dd/yyyy)



Is this supplier an Indian Health Facility enrolling with the designated Indian Health Service (IHS) Medicare Administrative
Contractor (MAC)?
   Yes        No




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SECTION 2: IDENTIFYING INFORMATION (Continued)
2. STATE LICENSE INFORMATION/CERTIFICATION INFORMATION
Provide the following information if the provider has a State license/certification to operate as the provider
type for which you are enrolling.
    State License Not Applicable
License Number                                             State Where Issued



Effective Date (mm/dd/yyyy)                                Expiration/Renewal Date (mm/dd/yyyy)



 Certification Information
    Certification Not Applicable
Certification Number                                       State Where Issued



Effective Date (mm/dd/yyyy)                                Expiration/Renewal Date (mm/dd/yyyy)



C. Correspondence Address
Provide contact information for the entity listed in Section 2B1 of this section. Once enrolled, the
information provided below will be used by the fee-for-service contractor if it needs to contact you
directly. This address cannot be a billing agency’s address.
Mailing Address Line 1 (Street Name and Number)



Mailing Address Line 2 (Suite, Room, etc.)



City/Town                                                                    State                  ZIP Code + 4



Telephone Number                         Fax Number (if applicable)          E-mail Address (if applicable)



D. Accreditation
Is this provider accredited?    YES           NO
If YES, complete the following:
Date of Accreditation (mm/dd/yyyy)                         Expiration Date of Accreditation (mm/dd/yyyy)



Name of Accrediting Body



Type of Accreditation or Accreditation Program (e.g., hospital accreditation program, home health accreditation, etc.)



E. Comments
Use this section to clarify any information furnished in this section.




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SECTION 2: IDENTIFYING INFORMATION (Continued)
F. Change of Ownership (CHOW) Information
Both the seller/former owner and the new owner should complete this section. (As the new owner may
not know all of the seller/former owner’s data, it should furnish this information on an “if known” basis.)
The seller/former owner must complete Sections 1A, 2F, 13, and either 15 or 16. (Section 6 must also be
completed if the signer has never completed Section 6 before.) The new owner must complete the
entire application.
Legal Business Name of “Seller/Former Owner” as reported to the Internal Revenue Service



“Doing Business As” Name of Seller/Former Owner (if applicable) Old Owner’s Medicare Identification Number (if issued)



Old Owner’s NPI                        Effective Date of Transfer (this can   Name of Fee-For-Service Contractor of
                                       be a future date) (mm/dd/yyyy)         Seller/Former Owner




Will the new owner be accepting assignment of the current “Provider Agreement?”                  YES       NO

If the answer is “No,” then this is an initial enrollment and the new owner should follow the instructions
for “New Enrollees” in Section 1 of this form.
Submit one copy of the bill of sale with the application. A copy of the final sales agreement must be
submitted once the sale is executed.
G. Acquisitions/Mergers
Effective Date of Acquisition (mm/dd/yyyy)




The seller/former owner need only complete Sections 1A, 2G, 13, and either 15 or 16; the new owner
must complete Sections 1A, 2G, 4, 13, and either 15 or 16. (Section 6 must also be completed if the signer
has never completed Section 6 before.)

1. PROVIDER BEING ACQUIRED
This section is to be completed with information about the currently enrolled provider that is being
acquired and will no longer retain its current Medicare provider number as a result of this acquisition.
Legal Business Name of the “Provider Being Acquired” as reported to the Internal Revenue Service



Current Fee-for-Service Contractor



Provide the name and Medicare identification number of all units of the above provider that have separate
Medicare identification numbers but have not entered into separate provider agreements, such as swing bed
units of a hospital and HHA branches. Also furnish the NPI. Units that already have a separate provider
agreement should not be reported here.
                                             MEDICARE IDENTIFICATION
          NAME/DEPARTMENT                                                          NATIONAL PROVIDER IDENTIFIER
                                               NUMBER (IF ISSUED)




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SECTION 2: IDENTIFYING INFORMATION (Continued)
2. ACQUIRING PROVIDER
This section is to be completed with information about the organization acquiring the provider identified in
Section 2G1.
Legal Business Name of the “Acquiring Provider” as Reported to the        Medicare Identification Number (if issued)
Internal Revenue Service



Current Fee-for-Service Contractor                                        National Provider Identifier




Submit one copy of the bill of sale with the application. A copy of the final sales agreement must be
submitted once the sale is executed.
H. Consolidations
The newly formed provider completes the entire application. The providers that are being
consolidated are reported below.
1. 1ST CONSOLIDATING PROVIDER
This section is to be completed with information about the 1st currently enrolled provider that, as a result
of this consolidation, will no longer retain its current Medicare Identification Number.
Legal Business Name of the “Provider Being Acquired” as reported to the Internal Revenue Service



Current Fee-for-Service Contractor



Effective Date of Consolidation



Provide the name and Medicare identification number of all units of the above provider that have separate
Medicare identification numbers but have not entered into separate provider agreements, such as swing-
bed units of a hospital and HHA branches. Also furnish the NPI. Units that already have a separate
provider agreement should not be reported here.

                                          MEDICARE IDENTIFICATION                     NATIONAL PROVIDER
         NAME/DEPARTMENT
                                            NUMBER (IF ISSUED)                            IDENTIFIER




2. 2ND CONSOLIDATING PROVIDER
This section is to be completed with information about the 2nd currently enrolled provider that, as a result
of this consolidation, will also no longer retain its current Medicare Identification Number.
Legal Business Name of the “Provider Being Acquired” as reported to the Internal Revenue Service



Current Fee-for-Service Contractor




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SECTION 2: IDENTIFYING INFORMATION (Continued)
Provide the name and Medicare identification number of all units of the above provider that have separate
Medicare identification numbers but have not entered into separate provider agreements, such as swing-bed
units of a hospital and HHA branches. Also furnish the NPI. Units that already have a separate provider
agreement should not be reported here.

                                          MEDICARE IDENTIFICATION                     NATIONAL PROVIDER
         NAME/DEPARTMENT
                                            NUMBER (IF ISSUED)                            IDENTIFIER




3. NEWLY CREATED PROVIDER IDENTIFICATION INFORMATION
Complete this section with identifying information about the newly created provider resulting from this
consolidation.
Legal Business Name of the New Provider as Reported to the Internal Revenue Service    Tax Identification Number




Submit one copy of the bill of sale with the application. A copy of the final sales agreement must be
submitted once the sale is executed.




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SECTION 3: FINAL ADVERSE LEGAL ACTIONS/CONVICTIONS
This section captures information on final adverse legal actions, such as convictions, exclusions,
revocations, and suspensions. All applicable final adverse legal actions must be reported, regardless of
whether any records were expunged or any appeals are pending.
Convictions
1. The provider, supplier, or any owner of the provider or supplier was, within the last 10 years preceding
   enrollment or revalidation of enrollment, convicted of a Federal or State felony offense that CMS has
   determined to be detrimental to the best interests of the program and its beneficiaries. Offenses include:
   Felony crimes against persons and other similar crimes for which the individual was convicted,
   including guilty pleas and adjudicated pre-trial diversions; financial crimes, such as extortion,
   embezzlement, income tax evasion, insurance fraud and other similar crimes for which the individual
   was convicted, including guilty pleas and adjudicated pre-trial diversions; any felony that placed the
   Medicare program or its beneficiaries at immediate risk (such as a malpractice suit that results in
   a conviction of criminal neglect or misconduct); and any felonies that would result in a mandatory
   exclusion under Section 1128(a) of the Act.
2. Any misdemeanor conviction, under Federal or State law, related to: (a) the delivery of an item or
   service under Medicare or a State health care program, or (b) the abuse or neglect of a patient in
   connection with the delivery of a health care item or service.
3. Any misdemeanor conviction, under Federal or State law, related to theft, fraud, embezzlement, breach
   of fiduciary duty, or other financial misconduct in connection with the delivery of a health care item
   or service.
4. Any felony or misdemeanor conviction, under Federal or State law, relating to the interference with or
   obstruction of any investigation into any criminal offense described in 42 C.F.R. Section 1001.101
   or 1001.201.
5. Any felony or misdemeanor conviction, under Federal or State law, relating to the unlawful
   manufacture, distribution, prescription, or dispensing of a controlled substance.
Exclusions, Revocations or Suspensions
1. Any revocation or suspension of a license to provide health care by any State licensing authority. This
   includes the surrender of such a license while a formal disciplinary proceeding was pending before a
   State licensing authority.
2. Any revocation or suspension of accreditation.
3. Any suspension or exclusion from participation in, or any sanction imposed by, a Federal or State
   health care program, or any debarment from participation in any Federal Executive Branch procurement
   or non-procurement program.
4. Any current Medicare payment suspension under any Medicare billing number.
5. Any Medicare revocation of any Medicare billing number.




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SECTION 3: FINAL ADVERSE ACTIONS/CONVICTIONS (Continued)

FINAL ADVERSE LEGAL HISTORY
1. Has your organization, under any current or former name or business identity, ever had a final
   adverse action listed on page 16 of this application imposed against it?

              YES–Continue Below       NO–Skip to Section 4

2. If yes, report each final adverse action, when it occurred, the Federal or State agency or the
   court/administrative body that imposed the action, and the resolution, if any.
     Attach a copy of the final adverse action documentation and resolution.

   FINAL ADVERSE LEGAL ACTION              DATE           TAkEN BY                  RESOLUTION




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SECTION 4: PRACTICE LOCATION INFORMATION
INSTRUCTIONS
• Report all practice locations within the jurisdiction of the Medicare fee-for-service contractor to which
  you will submit this application.
• If the provider is adding a practice location in the same State and the location requires a separate
  provider agreement, a separate, complete CMS-855A must be submitted for that location. The
  location is considered a separate provider for purposes of enrollment, and is not considered a practice
  location of the main provider. If a provider agreement is not required, the location can be added as a
  practice location.
• If the provider is adding a practice location in another State and the location requires a separate provider
  agreement, a separate, complete CMS-855A must be submitted for that location. (This often happens
  when a home health agency wants to perform services in an adjacent State.)
• If the provider is adding a practice location within another fee-for-service contractor’s jurisdiction and
  the provider is not already enrolled with that fee-for-service contractor, the provider must submit a
  full, complete CMS-855A to that fee-for-service contractor—regardless of whether a separate provider
  agreement is required. It cannot add the location as a mere practice location.
• Provide the specific street address as recorded by the United States Postal Service. Do not furnish a
  P.O. Box.
IMPORTANT: The provider should list its primary practice location first in Section 4A. The “primary
practice location” must be associated with the NPI that the provider intends to use to bill for
Medicare services.
If you have any questions as to whether the practice location requires a separate State survey or provider
agreement, contact your fee-for-service contractor.
Community Mental Health Centers (CMHCs) must report all alternative sites where core services are
provided (proposed alternative sites for initial enrollment and actual alternative sites for those CMHCs
already participating in Medicare). In accordance with provisions of the Public Health Service Act, a
CMHC is required to provide mental health services principally to individuals who reside in a defined
geographic area (service area). Therefore, CMHCs must service a distinct and definable community. Those
CMHCs operating or proposing to operate outside of this specific community must have a separate provider
agreement/number, submit a separate enrollment application, and individually meet the requirements
to participate. CMS will determine if the alternative site is permissible or whether the site must have a
separate agreement/number. CMS will consider the actual demonstrated transportation pattern of CMHC
clients within the community to ensure that all core services and partial hospitalization services are
available from each location within the community. A CMHC patient must be able to access and receive
services he/she needs at the parent CMHC site or the alternative site within the distinct and definable
community served by the parent.




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SECTION 4: PRACTICE LOCATION INFORMATION                           (Continued)
Hospitals must report all practice locations where the hospital provides services. Do not report separately
enrolled provider types such as skilled nursing facilities (SNFs), HHAs, RHCs, etc., even if these entities
are provider-based to the hospital. Suppose a hospital owns a SNF and an HHA. The hospital should not
list the SNF and HHA on its application, as they are not locations where the hospital furnishes services.
They are providers that are separate and distinct from the hospital, and will be reported on their respective
CMS-855A applications.
Base of Operations Address
• If this provider does not have a physical location where equipment and/or vehicles are stored or from
  where personnel report on a regular basis, complete this section with information about the location
  of the dispatcher/scheduler. This situation may occur if the provider operates mobile units that travel
  continuously from one location directly to another.
• HHAs must complete this section.

Mobile Facility and/or Portable Units
To properly pay claims, Medicare must know when services are provided in a mobile facility or with
portable units. (This section is mostly applicable to providers that perform outpatient physical therapy,
occupational therapy, and speech pathology services.)
• A “mobile facility” is generally a mobile home, trailer, or other large vehicle that has been converted,
  equipped, and licensed to render health care services. These vehicles usually travel to local shopping
  centers or community centers to see and treat patients inside the vehicle.
• A “portable unit” is when the provider transports medical equipment to a fixed location (e.g., a
  physician’s office or nursing home) to render services to the patient.




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SECTION 4: PRACTICE LOCATION INFORMATION (Continued)
A. Practice Location Information
Report all practice locations where services will be furnished. If there is more than one location, copy and
complete this section for each. Please list your primary practice location first.
To ensure that CMS establishes the correct associations between your Medicare legacy number (if issued)
and your NPI, you must list a Medicare legacy number—NPI combination for each practice location. If
you have multiple NPIs associated with both a single legacy number and a single practice location, please
list below all NPIs and associated legacy numbers for that practice location.
If you are changing, adding, or deleting information, check the applicable box, furnish the effective date,
and complete the appropriate fields in this section.

     CHECk ONE                      CHANGE                             ADD                           DELETE

  DATE     (mm/dd/yyyy)


Practice Location Name (“Doing Business As” name if different from Legal Business Name)



Practice Location Street Address Line 1 (Street Name and Number – NOT a P.O. Box)



Practice Location Street Address Line 2 (Suite, Room, etc.)



City/Town                                                     State             ZIP Code + 4



Telephone Number                         Fax Number (if applicable)             E-mail Address (if applicable)



Medicare Identification Number (if issued)                                      NPI



Medicare Identification Number (if issued)                                      NPI



Medicare Identification Number (if issued)                                      NPI



Medicare Identification Number (if issued)                                      NPI



CLIA Number for this location (if applicable)                 FDA/Radiology (Mammography) Certification Number for
                                                              this location (if issued)



Hospitals and HHAs only (Identify type of practice location):
  HHA Branch                              Main/Primary Hospital Location
  Hospital Psychiatric Unit               OPT Extension Site
  Hospital Rehabilitation Unit            Other Hospital Practice Location:_________________________________
  Hospital Swing-Bed Unit




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SECTION 4: PRACTICE LOCATION INFORMATION (Continued)
B. Where Do You Want Remittance Notices Or Special Payments Sent?
If you are changing, adding, or deleting information, check the applicable box, furnish the effective date,
and complete the appropriate fields in this section.

     CHECk ONE                      CHANGE                         ADD                        DELETE

  DATE     (mm/dd/yyyy)


Medicare will issue payments via electronic funds transfer (EFT). Since payment will be made by EFT,
the “Special Payments” address will indicate where all other payment information (e.g., remittance notices,
special payments) are sent.
   “Special Payments” address is the same as the practice location (only one address is listed in Section
   4A). Skip to Section 4C.
   “Special Payments” address is different than that listed in Section 4A, or multiple locations are listed.
   Provide address below.
“Special Payments” Address Line 1 (PO Box or Street Name and Number)



“Special Payments” Address Line 2 (Suite, Room, etc.)



City/Town                                                  State           ZIP Code + 4




C. Where Do You keep Patients’ Medical Records?
If you store patients’ medical records (current and/or former patients) at a location other than the location
in Section 4A or 4D, complete this section with the address of the storage location.
If this section is not complete, you are indicating that all records are stored at the practice locations
reported in Section 4A or 4D. The records must be the provider’s records, not the records of another
provider. Post Office Boxes and drop boxes are not acceptable as physical addresses where patients’
records are maintained.
For mobile facilities/portable units, the patients’ medical records must be under the provider’s control.
If you are changing, adding, or deleting information, check the applicable box, furnish the effective date,
and complete the appropriate fields in this section.

First Medical Record Storage Facility for Current and Former Patients

     CHECk ONE                      CHANGE                         ADD                        DELETE

  DATE     (mm/dd/yyyy)


Storage Facility Address Line 1 (Street Name and Number)



Storage Facility Address Line 2 (Suite, Room, etc.)



City/Town                                                  State           ZIP Code + 4


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SECTION 4: PRACTICE LOCATION INFORMATION (Continued)
Second Medical Record Storage Facility for Current and Former Patients

     CHECk ONE                      CHANGE                               ADD                             DELETE

  DATE     (mm/dd/yyyy)


Storage Facility Address Line 1 (Street Name and Number)



Storage Facility Address Line 2 (Suite, Room, etc.)



City/Town                                                       State              ZIP Code + 4




D. Base of Operations Address for Mobile or Portable Providers (Location of Business Office or
Dispatcher/Scheduler)
The base of operations is the location from where personnel are dispatched, where mobile/portable
equipment is stored, and when applicable, where vehicles are parked when not in use.
If you are changing, adding, or deleting information, check the applicable box, furnish the effective date,
and complete the appropriate fields in this section.

     CHECk ONE                      CHANGE                               ADD                             DELETE

  DATE     (mm/dd/yyyy)


Check here and skip to Section 4E if the “Base of Operations” address is the same as the
“Practice Location” listed in Section 4A.

Street Address Line 1 (Street Name and Number)



Street Address Line 2 (Suite, Room, etc.)



City/Town                                                                      State                  ZIP Code + 4



Telephone Number                            Fax Number (if applicable)         E-mail Address (if applicable)




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SECTION 4: PRACTICE LOCATION INFORMATION (Continued)
E. Vehicle Information
If the mobile health care services are rendered inside a vehicle, such as a mobile home or trailer, furnish
the following vehicle information. Do not furnish information about ambulance vehicles, or vehicles that
are used only to transport medical equipment (e.g., when the equipment is transported in a van but is used
in a fixed setting, such as a doctor’s office). If more than three vehicles are used, copy and complete this
section as needed.
If you are changing, adding, or deleting information, check the applicable box, furnish the effective date,
and complete the appropriate fields in this section.

                                                  TYPE OF VEHICLE                           VEHICLE
CHECk ONE FOR EACH VEHICLE
                                           (van, mobile home, trailer, etc.)        IDENTIFICATION NUMBER
     CHANGE          ADD      DELETE

Effective Date:



     CHANGE          ADD      DELETE

Effective Date:



     CHANGE          ADD      DELETE

Effective Date:


               For each vehicle, submit a copy of all health care related permits/licenses/registrations.

F. Geographic Location For Mobile or Portable Providers where the Base of Operations and/or
Vehicle Renders Services
For home health agencies (HHAs) and mobile/portable providers, furnish information identifying the
geographic area(s) where health care services are rendered.
NOTE: If you provide mobile health care services in more than one State and those States are serviced by
different Medicare fee-for-service contractors, complete a separate enrollment application (CMS-855A) for
each Medicare fee-for-service contractor’s jurisdiction.
1. INITIAL REPORTING AND/OR ADDITIONS
If you are reporting or adding an entire State, it is not necessary to report each city/town. Simply check the
box below and specify the State.
   Entire State of __________________________
If services are provided in selected cities/towns, provide the locations below. Only list ZIP codes if you are
not servicing the entire city/town.
               CITY/TOWN                                STATE                                 ZIP CODE




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SECTION 4: PRACTICE LOCATION INFORMATION (Continued)

2. DELETIONS
If you are deleting an entire State, it is not necessary to report each city/town. Simply check the box
below and specify the State.
   Entire State of __________________________
If services are provided in selected cities/towns, provide the locations below. Only list ZIP codes if you
are not servicing the entire city/town.

               CITY/TOWN                           STATE                                ZIP CODE




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SECTION 5: OWNERSHIP INTEREST AND/OR MANAGING CONTROL INFORMATION
(ORGANIZATIONS)
This section is to be completed with information about any organization that has direct or indirect
ownership of, a partnership interest in, and/or managing control of the provider identified in Section 2.
If there is more than one organization, copy and complete this section for each. (See examples below of
organizations that should be reported in this section.)
Only organizations should be reported in this section. Individuals should be reported in Section 6.
If adding, deleting, or changing information on an existing owner, partner, or managing organization,
check the appropriate box, indicate the effective date of the change, complete the appropriate fields in this
section, and sign and date the certification statement.

A. Ownership
The following ownership interests must be reported in this section.
1. DIRECT OWNERSHIP INTEREST
Examples of direct ownership are as follows:
• The provider is a skilled nursing facility that is wholly (100%) owned by Company A. As such, the
   provider would have to report Company A in this section.
• A hospice wants to enroll in Medicare. Company X owns 50% of the hospice. Company X would have
   to be reported in this section.
In the first example, Company A is considered a direct owner of the skilled nursing facility, in that it
actually owns the assets of the business. Similarly, Company X is a direct owner of the hospice mentioned
in the second example. It has 50% actual ownership of the hospice.
2. INDIRECT OWNERSHIP INTEREST
Many organizations that directly own a provider are themselves wholly or partly owned by other
organizations (or even individuals). This is often the result of the use of holding companies and parent/
subsidiary relationships. Such organizations and individuals are considered to be “indirect” owners of the
provider. Using the first example in #1 above, if Company B owned 100% of Company A, Company B is
considered to be an indirect owner of the provider. In other words, a direct owner has an actual ownership
interest in the provider (e.g., owns stock in the business, etc.), whereas an indirect owner has an ownership
interest in an organization that owns the provider.
Consider the following example of indirect ownership:
     ExAMPLE 1: OWNERSHIP
         LEVEL 3    Individual x                       Individual Y
                    5%                                 30%
         LEVEL 2    Company C                          Company B
                    60%                                40%
         LEVEL 1    Company A
                    100%




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SECTION 5: OWNERSHIP INTEREST AND/OR MANAGING CONTROL INFORMATION
(ORGANIZATIONS) (Continued)

      •   Company A owns 100% of the Enrolling Provider
      •   Company B owns 40% of Company A
      •   Company C owns 60% of Company A
      •   Individual X owns 5% of Company C
      •   Individual Y owns 30% of Company B
          In this example, Company A (Level 1) is the direct owner of the provider identified in section 2
          of this application. Companies B and C, as well as Individuals X and Y, are indirect owners of the
          provider. To calculate ownership shares using the above-cited example, utilize the following steps:

          LEVEL 1
          The diagram above indicates that Company A owns 100% of the Enrolling Provider. Company A
          must be reported.
          LEVEL 2
          To calculate the percentage of ownership held by Company C of the Enrolling Provider, multiply:
          • The percentage of ownership the LEVEL 1 owner has in the Enrolling Provider
            MULTIPLIED BY
            The percentage of ownership the LEVEL 2 owner has in that LEVEL 1 owner
          • Company A, the LEVEL 1 (or direct) owner, owns 100% of the provider. The diagram also
            indicates that Company C, a LEVEL 2 owner, owns 60% of Company A. As such, multiply
            100% (or 1.0) by 60% (.60). The result is .60. Therefore, Company C indirectly owns 60% of
            the provider, and must be reported.
          • Repeat the same procedure for Company B, the other LEVEL 2 owner. Because Company B
            owns 40% of Company A, multiply this figure by 100% (again, the ownership stake Company
            A has in the Enrolling Provider). Company B thus owns 40% of the Enrolling Provider, and
            must be reported.
          This process is continued until all LEVEL 2 owners have been accounted for.
          LEVEL 3
          To calculate the percentage of ownership that Individual X has in the Enrolling Provider, multiply:
          • The percentage of ownership the LEVEL 2 owner has in the Enrolling Provider
             MULTIPLIED BY
             The percentage of ownership the LEVEL 3 owner has in that LEVEL 2 owner
          • Company C owns 60% of the provider. According to the example above, Individual X (Level
             3) owns 5% of Company C. Therefore, multiply 60% (.60) by 5% (.05), resulting in .03. This
             means that Individual X owns 3% of the provider and does not need to be reported in this
             application.
          • Repeat this process for Company B, which owns 40% of the provider. The diagram states that
             Individual Y (Level 3) owns 30% of Company B. We thus multiply 40% (.40) by 30% (.30).
             The result is .12, or 12%. Because Individual Y owns 12% of the provider, Individual Y must be
             reported in this application (in Section 6: Individuals).
          This process is continued until all owners in LEVEL 3 have been accounted for. This process must
          be repeated for Levels 4 and beyond.




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SECTION 5: OWNERSHIP INTEREST AND/OR MANAGING CONTROL INFORMATION
(ORGANIZATIONS) (Continued)

3. MORTGAGE OR SECURITY INTEREST
All entities with at least a 5% mortgage, deed of trust, or other security interest in the provider must
be reported in this section. To calculate whether this interest meets the 5% threshold, use the following
formula:
        • Dollar amount of the mortgage, deed of trust, or other obligation secured by the provider or any
           of the property or assets of the provider
           DIVIDED BY
           Dollar amount of the total property and assets of the provider
Example: Two years ago, a provider obtained a $20 million loan from Entity X to add a third floor to its
facility. Various assets of the provider secure the mortgage. The total value of the provider’s property and
assets is $100 million.
Using the formula described above, divide $20 million (the dollar amount of the secured mortgage) by
$100 million (the total property and assets of the Enrolling Provider). This results in .20, or 20%. Because
Entity X’s interest represents at least 5% of the total property and assets of the Enrolling Provider, Entity
X must be reported in this section.

4. PARTNERSHIPS
All general partnership interests—regardless of the percentage—must be reported. This includes: (1) all
interests in a non-limited partnership, and (2) all general partnership interests in a limited partnership.
For limited partnerships, all limited partners must be reported if their interest in the partnership is at least
10%. To illustrate, assume a provider is a limited partnership. The general partner has a 60% interest in
the entity, while the 4 limited partners each own 10%. The general partnership must be reported in this
application. Likewise, the 4 limited partners must be reported, as they each own at least 10% of the
limited partnership.




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SECTION 5: OWNERSHIP INTEREST AND/OR MANAGING CONTROL INFORMATION
(ORGANIZATIONS) (Continued)

5. ADDITIONAL INFORMATION ON OWNERSHIP
All entities that meet any the requirements above must be reported in this section, including, but not
limited to:
• Entities with an investment interest in the provider (e.g., investment firms)
• Banks and financial institutions (e.g., mortgage interests)
• Holding companies
• Trusts and trustees
• Governmental/Tribal Organizations: If a Federal, State, county, city or other level of government, or an
   Indian tribe, will be legally and financially responsible for Medicare payments received (including any
   potential overpayments), the name of that government or Indian tribe must be reported as an owner. The
   provider must submit a letter on the letterhead of the responsible government (e.g., government agency)
   or tribal organization, which attests that the government or tribal organization will be legally and
   financially responsible in the event that there is any outstanding debt owed to CMS. This letter must
   be signed by an “authorized official” of the government or tribal organization who has the authority to
   legally and financially bind the government or tribal organization to the laws, regulations, and program
   instructions of Medicare. See Section 15 for further information on “authorized officials.”
• Charitable and Religious Organizations: Many non-profit organizations are charitable or religious in
   nature, and are operated and/or managed by a Board of Trustees or other governing body. The actual
   name of the Board of Trustees or other governing body should be reported in this section.
In addition to furnishing the information in this section, the provider must submit:
• An organizational diagram identifying all of the entities listed in this section and their relationships with
   the provider and with each other.
• If the provider is a skilled nursing facility, a diagram identifying the organizational structures of all of
   its owners, including owners that were not required to be listed in this section or in Section 6.

B. Managing Control
Any organization that exercises operational or managerial control over the provider, or conducts the day-
to-day operations of the provider, is a managing organization and must be reported. The organization need
not have an ownership interest in the provider in order to qualify as a managing organization. For instance,
it could be a management services organization under contract with the provider to furnish management
services for the business.

C. Managing Control: Adverse Legal History
This section is to be completed with any adverse legal history information about any ownership
organization, partnership and/or organization with managing control of the provider identified in Section 2.




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SECTION 5: OWNERSHIP INTEREST AND/OR MANAGING CONTROL INFORMATION
(ORGANIZATIONS) (Continued)
   Not Applicable
If you are changing, adding, or deleting information, check the applicable box, furnish the effective date,
and complete the appropriate fields in this section.

     CHECk ONE                       CHANGE                           ADD                           DELETE

  DATE     (mm/dd/yyyy)



A. Ownership/Managing Control Organization

1. IDENTIFYING INFORMATION

Legal Business Name as Reported to the Internal Revenue Service



“Doing Business As” Name (if applicable)



Address Line 1 (Street Name and Number)



Address Line 2 (Suite, Room, etc.)



City/Town                                                          State                     ZIP Code + 4



Tax Identification Number (required)



Medicare Identification Number(s) (if issued)               NPI (if issued)




2. TYPE OF ORGANIZATION

Check all that apply:
   Corporation                                                Investment firm
   Limited liability Company                                  Bank or other financial institution
   Medical provider/supplier                                  Consulting firm
   Management services company                                For-profit
   Medical staffing company                                   Non-profit
   Holding company                                            Other (please specify):

                                                              _________________________




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SECTION 5: OWNERSHIP INTEREST AND/OR MANAGING CONTROL INFORMATION
(ORGANIZATIONS) (Continued)
B. Ownership/Managing Control Information
Identify the type of ownership and/or managing control the organization identified in Section 5.A.1. has
in the provider identified in Section 2 of this application. Check all that apply. Complete all information
for each type of ownership and/or managing control applicable.

   5% or greater direct ownership interest
Effective date of 5% or greater direct ownership interest (mm/dd/yyyy)



Exact percentage of direct ownership this organization has in the provider



Was this organization solely created to acquire/buy the provider and/or the provider’s assets?
   Yes       No
If this organization also provides contracted services to the provider, describe the types of services furnished
(e.g., managerial, billing, consultative, medical personnel staffing).




   5% or greater indirect ownership interest
Effective date of 5% or greater indirect ownership interest (mm/dd/yyyy)



Exact percentage of indirect ownership this organization has in the provider



Was this organization solely created to acquire/buy the provider and/or the provider’s assets?
   Yes        No
If this organization provides contracted services to the provider, describe the types of services furnished (e.g.,
managerial, billing, consultative, medical personnel staffing).




   5% or greater mortgage interest
Effective date of 5% or greater mortgage interest (mm/dd/yyyy)



Exact percentage of mortgage interest this organization has in the provider



Was this mortgage solely created to acquire/buy the provider and/or the provider’s assets?
   Yes        No




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SECTION 5: OWNERSHIP INTEREST AND/OR MANAGING CONTROL INFORMATION
(ORGANIZATIONS) (Continued)
B. Managing Control: Identifying Information (Continued)

   5% or greater security interest
Effective date of 5% or greater security interest (mm/dd/yyyy)



Exact percentage of security interest this organization has in the provider



Was this security solely created to acquire/buy the provider and/or the provider’s assets?
   Yes        No

   General Partnership interest
Effective Date of the general partnership interest (mm/dd/yyyy)



Exact percentage of general partnership interest this organization has in the provider



Was this general partnership solely created to acquire/buy the provider and/or the provider’s assets?
   Yes        No
If this general partnership also provides contracted services to the provider, describe the types of services furnished
(e.g., managerial, billing, consultative, medical personnel staffing).




   Limited Partnership interest
Effective Date of the limited partnership interest (mm/dd/yyyy)



Exact percentage of limited partnership interest this organization has in the provider



Was this limited partnership solely created to acquire/buy the provider and/or the provider’s assets?
   Yes        No
If this limited partnership also provides contracted services to the provider, describe the types of services furnished
(e.g., managerial, billing, consultative, medical personnel staffing).




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SECTION 5: OWNERSHIP INTEREST AND/OR MANAGING CONTROL INFORMATION
(ORGANIZATIONS) (Continued)
B. Managing Control: Identifying Information (Continued)

   Operational/Managerial Control
Effective Date of the operational/managerial control (mm/dd/yyyy)



Exact percentage of operational/managerial control this organization has in the provider



If this operational/managerial organization also provides contracted services to the provider, describe the types of
services furnished (e.g., managerial, billing, consultative, medical personnel staffing).




   Other ownership or control/interest (please specify): ______________________________________
Effective Date of other ownership or control/interest (mm/dd/yyyy)



Exact percentage of ownership or control/interest this organization has in the provider



Was this organization solely created to acquire/buy the provider and/or the provider’s assets?
   Yes        No
If this organization also provides contracted services to the provider, describe the types of services furnished
(e.g., managerial, billing, consultative, medical personnel staffing).




C. Final Adverse Legal Action History
If reporting a change to existing information, check “Change,” provide the effective date of the change,
and complete the appropriate fields in this section.
   Change          Effective Date:__________________________
1. Has this organization in Section 5A, under any current or former name or business identity, ever had
   a final adverse legal action listed on page 16 of this application imposed against it?
               YES–Continue Below             NO–Skip to Section D
2. If YES, report each final adverse legal action, when it occurred, the Federal or State agency or the
   court/administrative body that imposed the action, and the resolution, if any.
     Attach a copy of the final adverse legal action documentation and resolution.

  FINAL ADVERSE LEGAL ACTION                     DATE                    TAkEN BY                     RESOLUTION




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SECTION 6: OWNERSHIP INTEREST AND/OR MANAGING CONTROL INFORMATION
(INDIVIDUALS)
This section is to be completed with information about any individual who has direct or indirect ownership
of, a partnership interest in, and/or managing control of the provider identified in Section 2 of this
application. If there is more than one individual, copy and complete this section for each. Note that the
provider must have at least one managing employee.
Only individuals should be reported in this section. Organizations should be reported in Section 5.
If adding, deleting, or changing information on an existing owner, partner, or managing individual, check
the appropriate box, indicate the effective date of the change, complete the appropriate fields in this
section, and sign and date the certification statement.

A. Ownership and Control
The following ownership control interests, as they are described in the instructions to Section 5, must be
reported in this section:
• 5% or greater direct ownership interest
• 5% or greater indirect ownership interest
• 5% or greater mortgage or security interest
• All general partnership interests, regardless of the percentage. This includes: (1) all interests in a non-
   limited partnership, and (2) all general partnership interests in a limited partnership.
• Limited partnership interests if the individual’s interest in the partnership is at least 10%.
• Officers and Directors, if the entity is organized as a corporation.
For more information on these interests, please see Section 5. Note that the diagrams referred to in
Section 5(A)(5) of the instructions must include all individuals with any of the ownership interests
described above.
All managing employees of the provider must be reported in this section. The term “managing employee”
means a general manager, business manager, administrator, director, or other individual who exercises
operational or managerial control over, or who directly or indirectly conducts, the day-to-day operations of
the provider, either under contract or through some other arrangement, regardless of whether the individual
is a W-2 employee of the provider.
NOTE: If a governmental or tribal organization will be legally and financially responsible for Medicare
payments received (per the instructions for Governmental/Tribal Organizations in Section 5), the provider
is only required to report its managing employees in Section 6. Owners, partners, officers and directors do
not need to be reported, except those who are listed as authorized or delegated officials on this application.

B. Adverse Legal History
This section is to be completed with any adverse legal history information about any individual owner,
partner and/or individual with managing control of the provider identified in Section 2.




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SECTION 6: OWNERSHIP INTEREST AND/OR MANAGING CONTROL INFORMATION
(INDIVIDUALS) (Continued)
If you are changing, adding, or deleting information, check the applicable box, furnish the effective date,
and complete the appropriate fields in this section.

     CHECk ONE                       CHANGE                               ADD                              DELETE

  DATE     (mm/dd/yyyy)


A. Identifying Information

First Name                                     Middle Initial Last Name                                          Jr., Sr., etc.



Medicare Identification Number (if issued)                     NPI (if issued)



Social Security Number (Required)        Date of Birth (mm/dd/yyyy)      Place of Birth (State)       Country of Birth




Identify the type of ownership and/or managing control the individual identified above has in the provider
identified in Section 2 of this application. Check all that apply. Complete all information for each type of
ownership and/or managing control applicable.

   5% or greater direct ownership interest
Effective Date of 5% or greater direct ownership interest (mm/dd/yyyy)



Exact percentage of direct ownership this individual has in the provider



If this individual also provides contracted services to the provider, describe the types of services furnished
(e.g., managerial, billing, consultative, medical personnel staffing, etc.).




   5% or greater indirect ownership interest
Effective Date of 5% or greater indirect ownership interest (mm/dd/yyyy)



Exact percentage of indirect ownership this individual has in the provider



If this individual also provides contracted services to the provider, describe the types of services furnished
(e.g., managerial, billing, consultative, medical personnel staffing, etc.).




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SECTION 6: OWNERSHIP INTEREST AND/OR MANAGING CONTROL INFORMATION
(INDIVIDUALS) (Continued)

   5% or greater mortgage interest
Effective Date of 5% or greater mortgage interest (mm/dd/yyyy)



Exact percentage of mortgage interest this individual has in the provider



If this individual also provides contracted services to the provider, describe the types of services furnished
(e.g., managerial, billing, consultative, medical personnel staffing, etc.).




   5% or greater security interest
Effective Date of 5% or greater greater security interest (mm/dd/yyyy)



Exact percentage of security interest this individual has in the provider



If this individual also provides contracted services to the provider, describe the types of services furnished
(e.g., managerial, billing, consultative, medical personnel staffing, etc.).




   General Partnership interest
Effective Date of the general partnership interest (mm/dd/yyyy)



Exact percentage of general partnership interest this individual has in the provider



If applicable, furnish this individual’s title within the provider organization (e.g., CEO, Board member, etc.)


If this individual also provides contracted services to the provider, describe the types of services furnished
(e.g., managerial, billing, consultative, medical personnel staffing, etc.).




   Limited Partnership interest
Effective Date of limited partnership interest (mm/dd/yyyy)



Exact percentage of limited partnership interest this individual has in the provider



If applicable, furnish this individual’s title within the provider organization (e.g., CEO, Board member, etc.)



If this individual also provides contracted services to the provider, describe the types of services furnished
(e.g., managerial, billing, consultative, medical personnel staffing, etc.).



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SECTION 6: OWNERSHIP INTEREST AND/OR MANAGING CONTROL INFORMATION
(INDIVIDUALS) (Continued)

   Officer
Effective Date of office (mm/dd/yyyy)



Exact percentage of control as an Officer this individual has in the provider



If applicable, furnish this individual’s title within the provider organization (e.g., CEO, Board member, etc.)



If this individual also provides contracted services to the provider, describe the types of services furnished
(e.g., managerial, billing, consultative, medical personnel staffing, etc.).




   Director
Effective Date as Director (mm/dd/yyyy)



Exact percentage of control as a Director this individual has in the provider



If applicable, furnish this individual’s title within the provider organization (e.g., CEO, Board member, etc.)



If this individual also provides contracted services to the provider, describe the types of services furnished
(e.g., managerial, billing, consultative, medical personnel staffing, etc.).




   W-2 Managing Employee
Effective Date of 5% or greater direct ownership interest (mm/dd/yyyy)


Exact percentage of management control this individual has in the provider



If applicable, furnish this manager’s title within the provider organization (e.g., CEO, Board member, etc.)



If this individual also provides contracted services to the provider, describe the types of services furnished
(e.g., managerial, billing, consultative, medical personnel staffing, etc.).




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SECTION 6: OWNERSHIP INTEREST AND/OR MANAGING CONTROL INFORMATION
(INDIVIDUALS) (Continued)

   Contracted Managing Employee
Effective Date of contract for managing employee (mm/dd/yyyy)



Exact percentage of this contracted managing employee’s control in the provider



If applicable, furnish this individual’s title within the provider organization (e.g., CEO, Board member, etc.)



If this individual also provides contracted services to the provider, describe the types of services furnished
(e.g., managerial, billing, consultative, medical personnel staffing, etc.).




   Operational/Managerial Control
Effective Date of the operational/managerial control (mm/dd/yyyy)



Exact percentage of operational/managerial control this individual has in the provider



If applicable, furnish this individual’s title within the provider organization (e.g., CEO, Board member, etc.)



If this individual also provides contracted services to the provider, describe the types of services furnished
(e.g., managerial, billing, consultative, medical personnel staffing, etc.).




   Other ownership or control/interest (please specify): ___________________________________
Effective Date of other ownership or control/interest (mm/dd/yyyy)


Exact percentage of ownership or control/interest this individual has in the provider



If applicable, furnish this individual’s title within the provider organization (e.g., CEO, Board member, etc.)



If this individual also provides contracted services to the provider, describe the types of services furnished
(e.g., managerial, billing, consultative, medical personnel staffing, etc.).




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SECTION 6: OWNERSHIP INTEREST AND/OR MANAGING CONTROL INFORMATION
(INDIVIDUALS) (Continued)

B. Final Adverse Legal Action History
Complete this section for the individual reported in Section 6A above.
If you are changing information, check “change” box, furnish the effective date, and complete the
appropriate fields in this section.
   Change          Effective Date:__________________________
1. Has the individual in Section 6A, under any current or former name or business identity, ever had a
   final adverse legal action listed on page 16 of this application imposed against him/her?
               YES–Continue Below        NO–Skip to Section 7

2. If YES, report each final adverse legal action, when it occurred, the Federal or State agency or the
   court/administrative body that imposed the action, and the resolution, if any.
     Attach a copy of the final adverse legal action documentation and resolution.

   FINAL ADVERSE LEGAL ACTION              DATE           TAkEN BY                   RESOLUTION




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SECTION 7: CHAIN HOME OFFICE INFORMATION
This section captures information regarding chain organizations. This information will be used to ensure
proper reimbursement when the provider’s year-end cost report is filed with the Medicare fee-for-service
contractor.
For more information on chain organizations, see 42 C.F.R. 421.404.
Check here         if this section does not apply and skip to Section 8.

If you are changing, adding, or deleting information, check the applicable box, furnish the effective date,
and complete the appropriate fields in this section.

     CHECk ONE                       CHANGE                            ADD                         DELETE

  DATE     (mm/dd/yyyy)



A. Type of Action this Provider is Reporting

 CHECk ONE:                                                    EFFECTIVE DATE        SECTIONS TO COMPLETE
     Provider in chain is enrolling in Medicare for the
                                                                                   Complete all of Section 7.
     first time (Initial Enrollment or Change of Ownership).
                                                                                   Complete Section 7 identifying
     Provider is no longer associated with the chain
                                                                                   the former chain home office.
                                                                                   Complete Section 7 in full
     Provider has changed from one chain to another.                               to identify the new chain
                                                                                   home office.
     The name of provider’s chain home office is
                                                                                   Complete Section 7C.
     changing (all other information remains the same).


B. Chain Home Office Administrator Information
First Name of Home Office Administrator or CEO        Middle Initial   Last Name                         Jr., Sr., etc.



Title of Home Office Administrator                    Social Security Number          Date of Birth (mm/dd/yyyy)



B. CHAIN HOME OFFICE ADMINISTRATOR INFORMATION




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SECTION 7: CHAIN HOME OFFICE INFORMATION (Continued)
C. Chain Home Office Information
1. Name of Home Office as Reported to the Internal Revenue Service



2. Home Office Business Street Address Line 1 (Street Name and Number)



Home Office Business Street Address Line 2 (Suite, Room, etc.)



City/Town                                                               State             ZIP Code + 4



Telephone Number                 Fax Number (if applicable)             E-mail Address (if applicable)



3. Home Office Tax Identification Number                         Home Office Cost Report Year-End Date (mm/dd)



4. Home Office Fee-For-Service Contractor                        Home Office Chain Number




D. Type of Business Structure of the Chain Home Office
Check one:
Voluntary:                                                       Government:
   Non-Profit – Religious Organization                            Federal
   Non-Profit – Other (Specify):________________                  State
                                                                  City
Proprietary:                                                      County
   Individual                                                     City-County
   Corporation                                                    Hospital District
   Partnership                                                    Other (Specify): _________________________
   Other (Specify): __________________________

E. Provider’s Affiliation to the Chain Home Office
Check one:
   Joint Venture/Partnership           Managed/Related                    Leased
   Operated/Related                    Wholly Owned                       Other (Specify): ___________________




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SECTION 8: BILLING AGENCY INFORMATION
Applicants that use a billing agency must complete this section. A billing agency is a company or
individual that you contract with to process and submit your claims. If you use a billing agency, you are
responsible for the claims submitted on your behalf.
   Check here if this section does not apply and skip to Section 12.

BILLING AGENCY NAME AND ADDRESS
If you are changing, adding, or deleting information, check the applicable box, furnish the effective date,
and complete the appropriate fields in this section.

     CHECk ONE                      CHANGE                            ADD                              DELETE

  DATE     (mm/dd/yyyy)


Legal Business/Individual Name as Reported to the Social Security Administration or Internal Revenue Service



If Individual, Billing Agent Date of Birth (mm/dd/yyyy)



Tax Identification Number or Social Security Number (required)



“Doing Business As” Name (if applicable)



Billing Agency Address Line 1 (Street Name and Number)



Billing Agency Address Line 2 (Suite, Room, etc.)


City/Town                                                             State             ZIP Code + 4



Telephone Number                 Fax Number (if applicable)           E-mail Address (if applicable)




SECTION 9: FOR FUTURE USE                     (THIS SECTION NOT APPLICABLE)



SECTION 10: FOR FUTURE USE                      (THIS SECTION NOT APPLICABLE)



SECTION 11: FOR FUTURE USE                      (THIS SECTION NOT APPLICABLE)




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SECTION 12: SPECIAL REQUIREMENTS FOR HOME HEALTH AGENCIES (HHAS)


                                               INSTRUCTIONS
All HHAs and HHA sub-units enrolling in the Medicare program must complete this section.
HHAs and HHA sub-units initially enrolling in Medicare, Medicaid, or both programs on or after
January 1, 1998 are required to provide documentation supporting that they have sufficient initial reserve
operating funds (capitalization) to operate for the first three months in the Medicare and/or Medicaid
program(s). The capitalization requirement applies to all HHAs and HHA sub-units enrolling in the
Medicare program, including HHAs or HHA sub-units currently participating in the Medicare program
that, as a result of a change of ownership, will be issued a new provider number. The capitalization
requirement does not apply to a branch of an HHA. Regulations found at 42 C.F.R. 489.28 require that
the fee-for-service contractor determine the required amount of reserve operating funds needed for the
enrolling HHA or HHA sub-unit by comparing the enrolling HHA or HHA sub-unit to at least three other
new HHAs that it serves which are comparable to the enrolling HHA or HHA sub-unit. Factors to be
considered are geographic location, number of visits, type of HHA or HHA sub-unit and business structure
of the HHA or HHA sub-unit. The fee-for-service contractor then verifies that the enrolling HHA or HHA
sub-unit has the required funds. To assist the fee-for-service contractor in determining the amount of funds
necessary, the enrolling HHA or HHA sub-unit should complete this section.
Check here         if this section does not apply and skip to Section 13.
A. Type of Home Health Agency
1. CHECk ONE:
       Non-Profit Agency        Proprietary Agency
2. PROJECTED NUMBER OF VISITS BY THIS HOME HEALTH AGENCY
   How many visits does this HHA project it will make in the first:
   three months of operation?_____________
   twelve months of operation? _______________
3. FINANCIAL DOCUMENTATION
   A) In order to expedite the enrollment process, the HHA may attach a copy of its most current
   savings, checking, or other financial statement(s) that verifies the initial reserve operating funds,
   accompanied by:
       1) An attestation from an officer of the bank or other financial institution stating that the funds are in
          the account(s) and are immediately available for the HHA’s use, and
       2) Certification from the HHA attesting that at least 50% of the reserve operating funds are non-
          borrowed funds.
   B) Will the HHA be submitting the above documentation with this application?             YES        NO

   NOTE: The fee-for-service contractor may require a subsequent attestation that the funds are still
   available. If the fee-for-service contractor determines that the HHA requires funds in addition to those
   indicated on the originally submitted account statement(s), it will require verification of the additional
   amount as well as a new attestation statement.




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SECTION 12: SPECIAL REQUIREMENTS FOR HOME HEALTH AGENCIES (HHAS)
(Continued)

4. ADDITIONAL INFORMATION
Provide any additional documentation necessary to assist the fee-for-service contractor or State agency
in properly comparing this HHA with other comparable HHAs. Use this space to explain or justify any
unique financial situations of this HHA that may be helpful in determining the HHA’s compliance with the
capitalization requirements.




B. Nursing Registries
If you are changing, adding, or deleting information, check the applicable box, furnish the effective date,
and complete the appropriate fields in this section.


     CHECk ONE                       CHANGE                          ADD                              DELETE

  DATE     (mm/dd/yyyy)


Does this HHA contract with a nursing registry whereby the latter furnishes personnel to perform HHA
services on behalf of the provider?
   YES–Furnish the information below
   NO–Skip to Section 13
Legal Business/Individual Name as Reported to the Internal Revenue Service



Tax Identification Number (required)



“Doing Business As” Name (if applicable)



Billing Street Address Line 1 (Street Name and Number)



Billing Street Address Line 2 (Suite, Room, etc.)



City/Town                                                            State             ZIP Code + 4



Telephone Number                  Fax Number (if applicable)         E-mail Address (if applicable)




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SECTION 13: CONTACT PERSON
If questions arise during the processing of this application, the fee-for-service contractor will contact the
individual shown below. If the contact person is an authorized or delegated official, check the appropriate
box below and skip to the section indicated.
   Contact an Authorized Official listed in Section 15
   Contact a Delegated Official listed in Section 16
First Name                                Middle Initial Last Name                       Jr., Sr., etc.



Telephone Number                                         Fax Number (if applicable)



Address Line 1 (Street Name and Number)



Address Line 2 (Suite, Room, etc.)



City/Town                                                       State                 ZIP Code + 4



E-mail Address




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SECTION 14: PENALTIES FOR FALSIFYING INFORMATION
This section explains the penalties for deliberately furnishing false information in this application
to gain or maintain enrollment in the Medicare program.
1. 18 U.S.C. § 1001 authorizes criminal penalties against an individual who, in any matter within the
   jurisdiction of any department or agency of the United States, knowingly and willfully falsifies,
   conceals or covers up by any trick, scheme or device a material fact, or makes any false, fictitious,
   or fraudulent statements or representations, or makes any false writing or document knowing the
   same to contain any false, fictitious or fraudulent statement or entry. Individual offenders are subject
   to fines of up to $250,000 and imprisonment for up to five years. Offenders that are organizations
   are subject to fines of up to $500,000 (18 U.S.C. § 3571). Section 3571(d) also authorizes fines
   of up to twice the gross gain derived by the offender if it is greater than the amount specifically
   authorized by the sentencing statute.
2. Section 1128B(a)(1) of the Social Security Act authorizes criminal penalties against any individual
   who, “knowingly and willfully,” makes or causes to be made any false statement or representation
   of a material fact in any application for any benefit or payment under a Federal health care program.
   The offender is subject to fines of up to $25,000 and/or imprisonment for up to five years.
3. The Civil False Claims Act, 31 U.S.C. § 3729, imposes civil liability, in part, on any person who:
    a) knowingly presents, or causes to be presented, to an officer or any employee of the United
       States Government a false or fraudulent claim for payment or approval;
    b) knowingly makes, uses, or causes to be made or used, a false record or statement to get a false
       or fraudulent claim paid or approved by the Government; or
    c) conspires to defraud the Government by getting a false or fraudulent claim allowed or paid.
     The Act imposes a civil penalty of $5,000 to $10,000 per violation, plus three times the amount of
     damages sustained by the Government
4. Section 1128A(a)(1) of the Social Security Act imposes civil liability, in part, on any person
   (including an organization, agency or other entity) that knowingly presents or causes to be presented
   to an officer, employee, or agent of the United States, or of any department or agency thereof, or of
   any State agency…a claim…that the Secretary determines is for a medical or other item or service
   that the person knows or should know:
     a) was not provided as claimed; and/or
     b) the claim is false or fraudulent.
     This provision authorizes a civil monetary penalty of up to $10,000 for each item or service,
     an assessment of up to three times the amount claimed, and exclusion from participation in the
     Medicare program and State health care programs.
5. 18 U.S.C. 1035 authorizes criminal penalties against individuals in any matter involving a health
   care benefit program who knowingly and willfully falsifies, conceals or covers up by any trick,
   scheme, or device a material fact; or makes any materially false, fictitious, or fraudulent statements
   or representations, or makes or uses any materially false fictitious, or fraudulent statement or
   entry, in connection with the delivery of or payment for health care benefits, items or services. The
   individual shall be fined or imprisoned up to 5 years or both.




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SECTION 14: PENALTIES FOR FALSIFYING INFORMATION (Continued)
6. 18 U.S.C. 1347 authorizes criminal penalties against individuals who knowing and willfully
   execute, or attempt, to executive a scheme or artifice to defraud any health care benefit program, or
   to obtain, by means of false or fraudulent pretenses, representations, or promises, any of the money
   or property owned by or under the control of any, health care benefit program in connection with
   the delivery of or payment for health care benefits, items, or services. Individuals shall be fined or
   imprisoned up to 10 years or both. If the violation results in serious bodily injury, an individual will
   be fined or imprisoned up to 20 years, or both. If the violation results in death, the individual shall
   be fined or imprisoned for any term of years or for life, or both.
7. The government may assert common law claims such as “common law fraud,” “money paid by
   mistake,” and “unjust enrichment.” Remedies include compensatory and punitive damages, restitution,
   and recovery of the amount of the unjust profit.




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SECTION 15: CERTIFICATION STATEMENT
An AUTHORIZED OFFICIAL means an appointed official (for example, chief executive officer, chief
financial officer, general partner, chairman of the board, or direct owner) to whom the organization
has granted the legal authority to enroll it in the Medicare program, to make changes or updates to the
organization’s status in the Medicare program, and to commit the organization to fully abide by the
statutes, regulations, and program instructions of the Medicare program.
A DELEGATED OFFICIAL means an individual who is delegated by an authorized official the authority to
report changes and updates to the provider’s enrollment record. A delegated official must be an individual
with an “ownership or control interest in” (as that term is defined in Section 1124(a)(3) of the Social
Security Act), or be a W-2 managing employee of, the provider.
Delegated officials may not delegate their authority to any other individual. Only an authorized official
may delegate the authority to make changes and/or updates to the provider’s Medicare status. Even when
delegated officials are reported in this application, an authorized official retains the authority to make
any such changes and/or updates by providing his or her printed name, signature, and date of signature as
required in Section 15B.
     NOTE: Authorized officials and delegated officials must be reported in Section 6, either on this
     application or on a previous application to this same Medicare fee-for-service contractor. If this is the
     first time an authorized and/or delegated official has been reported on the CMS-855A, you must
     complete Section 6 for that individual.
By his/her signature(s), an authorized official binds the provider to all of the requirements listed in the
Certification Statement and acknowledges that the provider may be denied entry to or revoked from the
Medicare program if any requirements are not met. All signatures must be original and in ink. Faxed,
photocopied, or stamped signatures will not be accepted.
Only an authorized official has the authority to sign (1) the initial enrollment application on behalf of
the provider or (2) the enrollment application that must be submitted as part of the periodic revalidation
process. A delegated official does not have this authority.
By signing this application, an authorized official agrees to immediately notify the Medicare fee-for-
service contractor if any information furnished on this application is not true, correct, or complete.
In addition, an authorized official, by his/her signature, agrees to notify the Medicare fee-for-service
contractor of any future changes to the information contained in this form, after the provider is enrolled in
Medicare, in accordance with the timeframes established in 42 C.F.R. 424.516(e).
The provider can have as many authorized officials as it wants. If the provider has more than two
authorized officials, it should copy and complete this section as needed.
Each authorized and delegated official must have and disclose his/her social security number.




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SECTION 15: CERTIFICATION STATEMENT (Continued)
A. Additional Requirements for Medicare Enrollment
These are additional requirements that the provider must meet and maintain in order to bill the Medicare
program. Read these requirements carefully. By signing, the provider is attesting to having read the
requirements and understanding them.
By his/her signature(s), the authorized official(s) named below and the delegated official(s) named in
Section 16 agree to adhere to the following requirements stated in this Certification Statement:
1. I agree to notify the Medicare contractor of any future changes to the information contained in this
   application in accordance with the time frames established in 42 C.F.R. § 424.516(e). I understand
   that any change in the business structure of this provider may require the submission of a new
   application.
2. I have read and understand the Penalties for Falsifying Information, as printed in this application.
   I understand that any deliberate omission, misrepresentation, or falsification of any information
   contained in this application or contained in any communication supplying information to Medicare,
   or any deliberate alteration of any text on this application form, may be punished by criminal, civil,
   or administrative penalties including, but not limited to, the denial or revocation of Medicare billing
   privileges, and/or the imposition of fines, civil damages, and/or imprisonment.
3. I agree to abide by the Medicare laws, regulations and program instructions that apply to this
   provider. The Medicare laws, regulations, and program instructions are available through the
   Medicare contractor. I understand that payment of a claim by Medicare is conditioned upon
   the claim and the underlying transaction complying with such laws, regulations, and program
   instructions (including, but not limited to, the Federal anti-kickback statute and the Stark law), and
   on the provider’s compliance with all applicable conditions of participation in Medicare.
4. Neither this provider, nor any physician owner or investor or any other owner, partner, officer,
   director, managing employee, authorized official, or delegated official thereof is currently
   sanctioned, suspended, debarred, or excluded by the Medicare or State Health Care Program, e.g.,
   Medicaid program, or any other Federal program, or is otherwise prohibited from supplying services
   to Medicare or other Federal program beneficiaries.
5. I agree that any existing or future overpayment made to the provider by the Medicare program may
   be recouped by Medicare through the withholding of future payments.
6. I will not knowingly present or cause to be presented a false or fraudulent claim for payment by
   Medicare, and I will not submit claims with deliberate ignorance or reckless disregard of their truth
   or falsity.
7. I authorize any national accrediting body whose standards are recognized by the Secretary
   as meeting the Medicare program participation requirements, to release to any authorized
   representative, employee, or agent of the Centers for Medicare & Medicaid Services (CMS), a copy
   of my most recent accreditation survey, together with any information related to the survey that
   CMS may require (including corrective action plans).




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SECTION 15: CERTIFICATION STATEMENT (Continued)
B. 1ST Authorized Official Signature
I have read the contents of this application. My signature legally and financially binds this provider to the
laws, regulations, and program instructions of the Medicare program. By my signature, I certify that the
information contained herein is true, correct, and complete, and I authorize the Medicare fee-for-service
contractor to verify this information. If I become aware that any information in this application is not true,
correct, or complete, I agree to notify the Medicare fee-for-service contractor of this fact in accordance
with the time frames established in 42 C.F.R. § 424.516(e).
If you are changing, adding, or deleting information, check the applicable box, furnish the effective date,
and complete the appropriate fields in this section.

     CHECk ONE                        CHANGE                                ADD                            DELETE

  DATE     (mm/dd/yyyy)


                                 Authorized Official’s Information and Signature
First Name                                  Middle Initial       Last Name                         Suffix (e.g., Jr., Sr.)



Telephone Number                                                                          Title/Position



Authorized Official Signature (First, Middle, Last Name, Jr., Sr., M.D., D.O., etc.)      Date Signed (mm/dd/yyyy)




C. 2ND Authorized Official Signature
I have read the contents of this application. My signature legally and financially binds this provider to the
laws, regulations, and program instructions of the Medicare program. By my signature, I certify that the
information contained herein is true, correct, and complete, and I authorize the Medicare fee-for-service
contractor to verify this information. If I become aware that any information in this application is not true,
correct, or complete, I agree to notify the Medicare fee-for-service contractor of this fact in accordance
with the time frames established in 42 C.F.R. § 424.516(e).
If you are changing, adding, or deleting information, check the applicable box, furnish the effective date,
and complete the appropriate fields in this section.

     CHECk ONE                        CHANGE                                ADD                            DELETE

  DATE     (mm/dd/yyyy)


                                 Authorized Official’s Information and Signature
First Name                                  Middle Initial       Last Name                         Suffix (e.g., Jr., Sr.)



Telephone Number                                                                          Title/Position



Authorized Official Signature (First, Middle, Last Name, Jr., Sr., M.D., D.O., etc.)      Date Signed (mm/dd/yyyy)



        All signatures must be original and signed in ink. Applications with signatures deemed not original will not
                         be processed. Stamped, faxed or copied signatures will not be accepted.

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SECTION 16: DELEGATED OFFICIAL(S) (Optional)
• You are not required to have a delegated official. However, if no delegated official is assigned, the
  authorized official(s) will be the only person(s) who can make changes and/or updates to the provider’s
  status in the Medicare program.
• The signature of a delegated official shall have the same force and effect as that of an authorized
  official, and shall legally and financially bind the provider to the laws, regulations, and program
  instructions of the Medicare program. By his or her signature, the delegated official certifies that
  he or she has read the Certification Statement in Section 15 and agrees to adhere to all of the stated
  requirements. The delegated official also certifies that he/she meets the definition of a delegated
  official. When making changes and/or updates to the provider’s enrollment information maintained by
  the Medicare program, the delegated official certifies that the information provided is true, correct, and
  complete.
• Delegated officials being deleted do not have to sign or date this application.
• Independent contractors are not considered “employed” by the provider and, therefore, cannot be
  delegated officials.
• The signature(s) of an authorized official in Section 16 constitutes a legal delegation of authority to any
  and all delegated official(s) assigned in Section 16.
• If there are more than two individuals, copy and complete this section for each individual.

A. 1ST Delegated Official Signature
If you are changing, adding, or deleting information, check the applicable box, furnish the effective date,
and complete the appropriate fields in this section.

     CHECk ONE                      CHANGE                               ADD                    DELETE

  DATE     (mm/dd/yyyy)



Delegated Official First Name             Middle Initial       Last Name                      Suffix (e.g., Jr., Sr.)



Delegated Official Signature (First, Middle, Last Name, Jr., Sr., M.D., D.O., etc.)    Date Signed (mm/dd/yyyy)


                                                                    Telephone Number
   Check here if Delegated Official is a W-2 Employee

Authorized Official Signature Assigning this Delegation                                Date Signed (mm/dd/yyyy)
(First, Middle, Last Name, Jr., Sr., M.D., D.O., etc.)




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SECTION 16: DELEGATED OFFICIAL(S) (Optional) (Continued)
B. 2ND Delegated Official Signature
If you are changing, adding, or deleting information, check the applicable box, furnish the effective date,
and complete the appropriate fields in this section.

     CHECk ONE                      CHANGE                               ADD                    DELETE

  DATE     (mm/dd/yyyy)



Delegated Official First Name             Middle Initial       Last Name                      Suffix (e.g., Jr., Sr.)



Delegated Official Signature (First, Middle, Last Name, Jr., Sr., M.D., D.O., etc.)    Date Signed (mm/dd/yyyy)


                                                                    Telephone Number
   Check here if Delegated Official is a W-2 Employee

Authorized Official Signature Assigning this Delegation                                Date Signed (mm/dd/yyyy)
(First, Middle, Last Name, Jr., Sr., M.D., D.O., etc.)




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SECTION 17: SUPPORTING DOCUMENTS
This section lists the documents that, if applicable, must be submitted with this completed enrollment
application. If you are newly enrolling, or are reactivating or revalidating your enrollment, you must
provide all applicable documents. For changes, only submit documents that are applicable to that change.
The enrolling provider may submit a notarized copy of a Certificate of Good Standing from the provider’s
State licensing/certification board or other medical associations in lieu of copies of the above-requested
documents. This certification cannot be more than 30 days old.
The fee-for-service contractor may request, at any time during the enrollment process,
documentation to support or validate information that you have reported in this application.
The Medicare fee-for-service contractor may also request documents from you, other than those
identified in this section 17, as are necessary to bill Medicare.
MANDATORY FOR ALL PROVIDER/SUPPLIER TYPES
Required documents that can only be obtained after a State survey are not required as part of the
application submission but must be furnished within 30 days of the provider receiving them. The Medicare
fee-for–service contractor will furnish specific licensing requirements for your provider type upon request.
   Licenses, certifications and registrations required by Medicare or State law.
   Federal, State, and/or local (city/county) business licenses, certifications and/or registrations required to
   operate a health care facility.
   Written confirmation from the IRS confirming your Tax Identification Number with the Legal Business
   Name (e.g., IRS CP 575) provided in Section 2.
   Completed Form CMS-588, Authorization Agreement for Electronic Funds Transfer.
   NOTE: If a provider already receives payments electronically and is not making a change to its banking
   information, the CMS-588 is not required.

MANDATORY FOR SELECTED PROVIDER/SUPPLIER TYPES
   Copy(s) of all bills of sale or sales agreements (CHOWS, Acquisition/Mergers, and
   Consolidations only).
   Copy(s) of all documents that demonstrate meeting capitalization requirements (HHAs only).

MANDATORY, IF APPLICABLE
   Statement in writing from the bank. If Medicare payment due a provider of services is being sent to a
   bank (or similar financial institution) with whom the provider has a lending relationship (that is, any
   type of loan), then the provider must provide a statement in writing from the bank (which must be in
   the loan agreement) that the bank has agreed to waive its right of offset for Medicare receivables.
   Copy(s) of all adverse legal action documentation (e.g., notifications, resolutions, and
   reinstatement letters).
   Copy of an attestation for government entities and tribal organizations
   Copy of HRSA Notice of Grant Award if that is a qualifying document for FQHC status
   Copy of IRS Determination Letter, if provider is registered with the IRS as non-profit
   Written confirmation from the IRS confirming your Limited Liability Company (LLC) is automatically
   classified as a Disregarded Entity. (e.g., Form 8832).
   NOTE: A disregarded entity is an eligible entity that is treated as an entity not separate from its single
   owner for income tax purposes.

According to the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it displays
a valid OMB control number. The valid OMB control number for this information collection is 0938-0685. The time required to complete
this information collection is estimated at 6 hours per response, including the time to review instructions, search existing data resources,
gather the data needed, and complete and review the information collection. If you have any comments concerning the accuracy of
the time estimate(s) or suggestions for improving this form, please write to: CMS, 7500 Security Boulevard, Attn: PRA Reports Clearance
Officer, Baltimore, Maryland 21244-1850.
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DEPARTMENT OF HEALTH AND HUMAN SERVICES
CENTERS FOR MEDICARE & MEDICAID SERVICES


  MEDICARE SUPPLIER ENROLLMENT APPLICATION PRIVACY ACT STATEMENT
The Centers for Medicare & Medicaid Services (CMS) is authorized to collect the information requested on this form
by sections 1124(a)(1), 1124A(a)(3), 1128, 1814, 1815, 1833(e), and 1842(r) of the Social Security Act [42 U.S.C.
§§ 1320a-3(a)(1), 1320a-7, 1395f, 1395g, 1395(l)(e), and 1395u(r)] and section 31001(1) of the Debt Collection
Improvement Act [31 U.S.C. § 7701(c)].
The purpose of collecting this information is to determine or verify the eligibility of individuals and organizations
to enroll in the Medicare program as suppliers of goods and services to Medicare beneficiaries and to assist in the
administration of the Medicare program. This information will also be used to ensure that no payments will be made
to providers who are excluded from participation in the Medicare program. All information on this form is required,
with the exception of those sections marked as “optional” on the form. Without this information, the ability to make
payments will be delayed or denied.
The information collected will be entered into the Provider Enrollment, Chain and Ownership System (PECOS).
The information in this application will be disclosed according to the routine uses described below.
Information from these systems may be disclosed under specific circumstances to:
1. CMS contractors to carry out Medicare functions, collating or analyzing data, or to detect fraud or abuse;
2. A congressional office from the record of an individual health care provider in response to an inquiry from the
    congressional office at the written request of that individual health care practitioner;
3. The Railroad Retirement Board to administer provisions of the Railroad Retirement or Social Security Acts;
4. Peer Review Organizations in connection with the review of claims, or in connection with studies or other review
    activities, conducted pursuant to Part B of Title XVIII of the Social Security Act;
5. To the Department of Justice or an adjudicative body when the agency, an agency employee, or the United States
    Government is a party to litigation and the use of the information is compatible with the purpose for which the
    agency collected the information;
6. To the Department of Justice for investigating and prosecuting violations of the Social Security Act, to which
    criminal penalties are attached;
7. To the American Medical Association (AMA), for the purpose of attempting to identify medical doctors when
    the National Plan and Provider System is unable to establish identity after matching contractor submitted data to
    the data extract provided by the AMA;
8. An individual or organization for a research, evaluation, or epidemiological project related to the prevention of
    disease or disability, or to the restoration or maintenance of health;
9. Other Federal agencies that administer a Federal health care benefit program to enumerate/enroll providers of
    medical services or to detect fraud or abuse;
10. State Licensing Boards for review of unethical practices or non-professional conduct;
11. States for the purpose of administration of health care programs; and/or
12. Insurance companies, self insurers, health maintenance organizations, multiple employer trusts, and other health
    care groups providing health care claims processing, when a link to Medicare or Medicaid claims is established,
    and data are used solely to process supplier’s health care claims.
The supplier should be aware that the Computer Matching and Privacy Protection Act of 1988 (P.L. 100-503)
amended the Privacy Act, 5 U.S.C. § 552a, to permit the government to verify information through
computer matching.
Protection of Proprietary Information
Privileged or confidential commercial or financial information collected in this form is protected from public
disclosure by Federal law 5 U.S.C. § 552(b)(4) and Executive Order 12600.
Protection of Confidential Commercial and/or Sensitive Personal Information
If any information within this application (or attachments thereto) constitutes a trade secret or privileged or
confidential information (as such terms are interpreted under the Freedom of Information Act and applicable case
law), or is of a highly sensitive personal nature such that disclosure would constitute a clearly unwarranted invasion
of the personal privacy of one or more persons, then such information will be protected from release by CMS under
5 U.S.C. §§ 552(b)(4) and/or (b)(6), respectively.
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